 Case 1:17-cv-00126-RC Document 13 Filed 04/24/17 Page 1 of 21 PageID #: 101


                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

HORACE SAVOY, AND WIFE,                          §
TIFFANY SAVOY                                    §
                                                 §
VS.                                              §             CIVIL ACTION 1:17-CV-00126
                                                 §
MINSTAR TRANSPORT, INC.,                         §                        JUDGE RON CLARK
RICHARD MCGOWLAN,                                §
KUBOTA TRACTOR                                   §
CORPORATION AND MARUBENI                         §
TRANSPORT SERVICE CORP.                          §

                    PLAINTIFFS’ SECOND AMENDED COMPLAINT

TO THE HONORABLE JUDGE OF THIS COURT:

       COME NOW, HORACE SAVOY, AND WIFE, TIFFANY SAVOY, hereinafter

referred to as Plaintiff, complaining of and about MINSTAR TRANSPORT, INC., RICHARD

MCGOWLAN, KUBOTA TRACTOR CORPORATION, MARUBENI TRANSPORT

SERVICE CORP., KUBOTA MANUFACTURING OF AMERICA CORPORATION,

KUBOTA MANUFACTURING CORP., KUBOTA NORTH AMERICA CORPORATION

and further complaining of KUBOTA CORPORATION (hereinafter sometimes collectively

referred to as “Defendants”) and in support hereof would show unto the Court as follows:

1.00   PARTIES

       1.01    Plaintiffs are and have been resident citizens of the State of Texas at all material

times and were husband and wife.

       1.02    Defendant, MINSTAR TRANSPORT, INC., has answered and appeared.

       1.03    Defendant, RICHARD MCGOWLAN, has answered and appeared.

       1.04    Defendant, KUBOTA TRACTOR CORPORATION, has answered and

appeared.




                                                1
 Case 1:17-cv-00126-RC Document 13 Filed 04/24/17 Page 2 of 21 PageID #: 102


       1.05    Defendant, MARUBENI TRANSPORT SERVICE CORP., has answered and

appeared.

       1.06    Defendant,       KUBOTA          MANUFACTURING                OF       AMERICA

CORPORATION, is a domestic entity with its nerve center and corporate heaquarters located in

Grapevine, Texas on “Kubota Drive” who is doing business in the State of Texas for the

purposes of accumulating monetary profits; said Defendant may be served with this citation and

petition by serving its registered agent for service of process CT Corporation System, 1999

Bryan Stree, Suite 900, Dallas, Texas 75201-3136.

       1.07 Defendant, KUBOTA MANUFACTURING CORP., is a domestic entity with its

nerve center and corporate heaquarters located in Grapevine, Texas on “Kubota Drive” who is

doing business in the State of Texas for the purposes of accumulating monetary profits; said

Defendant may be served with this citation and petition by serving its registered agent for service

of process CT Corporation System, 1999 Bryan Stree, Suite 900, Dallas, Texas 75201-3136.

       1.08    Defendant, KUBOTA NORTH AMERICA CORPORATION, is a domestic

entity with its nerve center and corporate heaquarters located in Grapevine, Texas on “Kubota

Drive” who is doing business in the State of Texas for the purposes of accumulating monetary

profits; said Defendant may be served with this citation and petition by serving its registered

agent for service of process CT Corporation System, 1999 Bryan Stree, Suite 900, Dallas, Texas

75201-3136.

       1.09    Defendant, KUBOTA CORPORATION, is a foreign entity who is doing

business in the State of Texas for the purposes of accumulating monetary profits; said Defendant

will be represented by counsel for Kubota Tractor Corporation and the undersigned remains

hopefuful he will accept service, but reportedly requires that it be served with process, Summons

and this Complaint by serving it through the Hague Convention at the following address:



                                                2
 Case 1:17-cv-00126-RC Document 13 Filed 04/24/17 Page 3 of 21 PageID #: 103


       Kubota Corporation
       2-47m, Shitkitsuhigashi 1-chome,
       Naniwa-ku, Osaka 556-8601 Japan

2.00   JURISDICTION AND VENUE

       2.01    Damages in this personal injury case, exclusive of interest and costs, exceed the

minimum jurisdictional limits of this court.         While the amount in controversy exceeds

$75,000.00, jurisdiction does not exist in U.S. District Court because not all plaintiffs and all

Defendants are residents of different states. Further pleading, plaintiffs and one or more of the

Defendants are resident citizens of the State of Texas. Beecause one or more of the Kubota

Defendants are resident citizens of the State of Texas by virtue of their corporate headquarters

being located in Grapevine, Texas, diversity of jurisdiction does not exist.

       2.02    Venue is proper in Jefferson County based on § 15.002 the Texas Civil Practice &

Remedies Code as it is the county where all or a substantial part of the events or omissions

giving rise to the claim occurred.

3.00   STATEMENT OF FACTS

       3.01    This suit is necessary to collect a legal debt and damages due and owing your

Plaintiff, HORACE SAVOY, arising from an incident occurring in Jefferson County, Texas on

or about September 19, 2016 on College Street in Beaumont, Jefferson County, Texas at the

business premises of Plaintiff’s employer, Beaumont Tractor Company. Specifially, a Kubota

RTV driven by one of the Defendants herein struck Plaintiff, running over him and causing him

to fall to the ground after the driver’s foot become “stuck,” ensnared, trapped and/or hung up in

acceleration control or pedal within the operator’s cab of the Kubota RTV causing “inadvertent

acceleration” according to said driver, RICHARD MCGOWLAN.

       3.02    On or about September 19, 2016, Defendants, MINSTAR TRANSPORT, INC.

and its employee and agent, RICHARD MCGOWLAN, had transported a Kubota RTV from

Georgia to Beaumont, Texas where the incident causing injuries to Plaintiff occurred. As alleged
                                                 3
 Case 1:17-cv-00126-RC Document 13 Filed 04/24/17 Page 4 of 21 PageID #: 104


in its Notice of Removal, Defendant, RICHARD MCGOWLAN, had “accidently gotten a foot

stuck next to the throttle of an ATV when driving it off the trailer, resulting in inadvertently

accelerating the ATV as it was coming off the 2nd level” transport deck. After striking and

running over Plaintiff, the Kubota RTV with Defendant, RICHARD MCGOWLAN’S, foot

“stuck” in fuel acceleration pedal, continued out of the trailer and hitting not one, but two other

trailers as well as another Kubota RTV that had previously been off-loaded.

       3.03    The Kubota RTV was designed, manufactured, assembled, marketed and placed

into the stream of commerce by Kubota Defendants, including Defendants KUBOTA

TRACTOR        CORPORATION,            KUBOTA        MANUFACTURING             OF      AMERICA

CORPORATION,           KUBOTA        MANUFACTURING             CORP.,      KUBOTA        NORTH

AMERICA CORPORATION and/or KUBOTA CORPORATION (sometimes collectively

referred to as the “Kubota Defendants”)

       3.04    Defendant, KUBOTA TRACTOR CORPORATION, instructed on the Bill of

Lading that it be billed for the cost of transporting the RTV to its dealership in Beaumont, Texas,

Beaumont Tractor Company, as its name is identified by the words “Bill To” and by paying for

its transportation, caused the Kubota RTV to be placed into the stream of commerce.

       3.05    Defendant,       KUBOTA          MANUFACTURING                 OF       AMERICA

CORPORATION, generated the “Straight Bill of Lading” and the “Packing List” pertaining to

the RTV that caused Plaintiff to become injured.

       3.06    Defendant, KUBOTA MANUFACTURING CORP. is identified on the Straight

Bill of Lading as the “shipper” of the RTV that caused Plaintiff to become injured.

       3.07    Defendants      KUBOTA         TRACTOR          CORPORATION,             KUBOTA

MANUFACTURING OF AMERICA CORPORATION, KUBOTA MANUFACTURING

CORP.,     KUBOTA           NORTH      AMERICA         CORPORATION            and/or   KUBOTA

CORPORATION owned the Kubota RTV at the time it was placed into the stream of
                                                4
 Case 1:17-cv-00126-RC Document 13 Filed 04/24/17 Page 5 of 21 PageID #: 105


commerce and at the of the incident made the basis of this litigation.

       3.08    Defendants,     KUBOTA          TRACTOR          CORPORATION,          KUBOTA

MANUFACTURING OF AMERICA CORPORATION, KUBOTA MANUFACTURING

CORP.,      KUBOTA        NORTH        AMERICA         CORPORATION          and/or    KUBOTA

CORPORATION as the respective owning, designing, assembling, marketing, paying and/or

shipping company each retained a right of control over the method, means and manner that the

Kubota RTV would be shipped, including by selecting the transportation company, how the

product was packaged or assembled and the conditions by which its products would be shipped,

including whether or not it chose to take advantage of the Minstar’s “Double Deck

Transportation System.”

       3.09    The Kubota RTV was unreasonable dangerous and defective as designed in

violation of Section 402a of the Second Restatement on Product Liablity insofar as the operator’s

compartment and/or accelerator pedal within the operator’s compartment station was designed in

such a way that a foreseeable user’s foot could become “stuck,” trapped, ensnared or hung up

causing or resulting in “inadvertent acceleration” as alleged by Defendants, which resulted in

Plaintiff being hit by the Kubota RTV and Defendant, RICHARD MCGOWLAN, was

operating the same. A safer alternative design existed at the time the Kubota RTV was placed

into the stream of commerce by the Kubota Defendants which would have eliminated or

significantly reduced the risk of injury to operators of the Kubota RTV and others working or

walking nearby, incliuding Plaintiff, HORACE SAVOY.              The Kubota Defendants, acting

individually in some instances or in combination with another in others, designed, assembled,

manufactured, marketed, loaded, shipped, paid for the shipping of the Kubota RTV and was

negligent in doing so as allged hereinabove; alternatively, each of the Kubota Defendants had a

right of control over said acts enabling or causing the Kubota RTV to be placed into the stream

of commerce.
                                                 5
 Case 1:17-cv-00126-RC Document 13 Filed 04/24/17 Page 6 of 21 PageID #: 106


       3.10    One or more of the aforesaid Kubota entities, acting singularly and/or in

combination, marketed the Kubota RTV and in doing so made decisions regarding the identity,

subject, conspicuity and/or content of warnings and/or instructions which they knew would be

relied upon by consumers or users, including Defendant, RICHARD MCGOWLAN. Each of

the aforeseaid Kubota entities retained a right of control over the marketing, warning and/or

instructing of the Kubota RTV and was negligent in failing to provide any warning that the foot

of Defendant, RICHARD MCGOWLAN, could become “stuck,” trapped, ensnared or hung up

in, near or with the throttle and/or accelerator pedal such that inadvertent acceleration of the

Kubota RTV could occur causing injury. Further, said entities failed to provide any instruction

to the consumers and users of the Kubota RTV, including Defendant, RICHARD

MCGOWLAN, how to avoid the danger that Defendant, RICHARD MCGOWLAN, says

occurred in causing the “inadvertent acceleration” and or running over of Plaintiff and the fall of

Plainitff thereby.

       3.11    The “accident process” started for the Kubota entities during the design phase of

the subject Kubota RTV, including its failure to eliminate or significantly reduce the risk of the

danger of foot entrapment during the design phase of the Kubota RTV in a way that the user or

operator’s foot would not become “stuck,” trapped, ensared or hung up with the acceleration

controls of the Kubota RTV such that “accidental acceleration” could occur, thereby making the

Kubota RTV unreasonably dangerous and defective by design. Further, there are no warnings of

the danger of foot entrapment by its product or instructions regarding safe operation, loading,

unloading and/or use of the Kubota RTV, including how to avoid the dangerous, making the

product mismarketed.

       3.12    More likely than not this “accident process” started for Defendant, MINSTAR

TRANSPORT, INC., months if not years before when Defendant, MINSTAR TRANSPORT,

INC., designed the “Double-deck System” and marketed it for hauling mobile equipment,
                                                6
 Case 1:17-cv-00126-RC Document 13 Filed 04/24/17 Page 7 of 21 PageID #: 107


including the subject Kubota RTV. In effort to secure the business of Defendants herein,

Defendant MINSTAR TRANSPORT, INC., marketed its Double Deck System as a “cost-

savings” device allowing its van and shippers to load even more, higher and greater loads within

the van, regardless of the safety of doing same or the harm or danger visited upon others who

happened to be nearby, including your Plaintiff.        The Kubota Defendants and Defendant,

MARUBENI TRANSPORT SERVICE CORP., were hooked by the marketing schemes of

Defendant, MINSTAR TRANSPORT, INC., in effort to “save money” or enjoy higher profits

regardless of the harm and dangers caused to others thereby.              Defendant, MINSTAR

TRANSPORT, INC. advertises to its customers and clients, including Defendants, including

advertising on its website, that significant costs savings can result from selecting and hiring out

its “Double Deck Transport System.” Said advertising includes posing the following question

and then answering it, implying that customers who choose its “Double Deck Transport System”

realize a one-half cost savings: “Do you get every other load hauled for half price and free of

fuel surcharge? That’s what we do for our customers all the time.”

       3.13    Defendant, MARUBENI TRANSPORT SERVICE CORP., represented to the

world, including the other Defendants herein, that it is a transportation logistics coordinator.

Defendant, MARUBENI TRANSPORT SERVICE CORP., provided the service of

transportation logistics and coordination to the other Defendants herein and did so negligently

which was a proximate cause the mobile equipment being loaded onto, shipped by the Kubota

entities and transported on the 2nd or top level of the “Double Deck Transport System.” As a result,

Defendant, MARUBENI TRANSPORT SERVICE CORP., in their role as logistics coordinator,

coordinated the van/trailer to be double-stacked with Kubota RTV’s so that multiple shipments

could be, including the Beaumont, Texas delivery as well as other deliveries west of Beaumont,

Texas. Defendant, MARUBENI TRANSPORT SERVICE CORP, was negligent in selected the

subject method of shipment for the subject merchandise which was unsafe and dangerous for the
                                                 7
 Case 1:17-cv-00126-RC Document 13 Filed 04/24/17 Page 8 of 21 PageID #: 108


reasons specified herein. Said Defendant failed to ensure the load would be loaded and therefore

unloaded in a safe manner, which would not cause injury to others, including Plaintiff.

       3.14    However, the Minstar Double Deck Transportaion System was dangerous,

defective and unsafe for its intended purposes as it pertains to loading, shipping and/or unloading

mobile or rubber tired equipment, including the subject Kubota RTV, because it dictates that the

operator, driver and unloader of the said equipment will unload the equipment with the

unloader’s body in a tortured position where he cannot sit safely in the operators compartment

because of it’s proximity just below the interior of the roof of the cargo van or trailer as is shown

in the photograph of Defendant, RICHARD MCGOWLAN, taken shortly before the incident

made the basis of this litigation:




       3.15    Loading the Kubota RTV for shipment and transportation onto the top or 2nd

level/deck inside the van/trailer was dangerous and created a trap that would be sprung at the time

the operator attempted to off-load the RTV, and necessarily dictated the conditions by which the

RTV would be off-loaded.
                                                 8
 Case 1:17-cv-00126-RC Document 13 Filed 04/24/17 Page 9 of 21 PageID #: 109


        3.16     The design and marketing defects of the Kubota RTV alleged hereinabove taken

singiulalrly or in combination with the loading, shipping and having to unload the Kubota RTV

from the top or 2nd level created created a dangerous “perfect storm” for Defendant, RICHARD

MCGOWLAN, and resulted in him striking and running over Plaintiff, HORACE SAVOY,

and knocking to the ground causing head injury, lacerated face, bi-lateral broken risks, cervical

and lumbar spine injury and a broken ankle as alleged hereinabove. This danger, combined with

the hidden, latent and unknown danger that the operator’s foot could become “stuck,” ensnared,

entangled and/or hung up with the accelerator’s controls thereby causing “inadvertent acceleration,”

as alleged by Defendants, RICHARD MCGOWLAN and MINSTAR TRANSPORT, INC.

were the proximate and/or producing cause of Plaintiff’s injuries and/or damages.

        3.17     Upon information and belief, the Kubota Defendants and Defendant, MARUBENI

TRANSPORT SERVICE CORP., evaluated the safety of transporting the RTV on 2nd or top deck

of the “Double-Deck Transport System,” but nevertheless made a conscious decision to continue

with loading, shipping and causing the unloading of the Kubota RTV to be made from the top or 2nd

level; alternatively, said Defendants should have done so and were negligent in allowing the same to

occur. Motivated by the cost-savings measures advertised, marketed, encouraged and/or incited by

Defendants, MINSTAR TRANSPORT, INC., the Kubota Defendants and                       MARUBENI

TRANSPORT SERVICE CORP. made the conscious decision to “double-stack” Kubota RTV’s

in the van, including the top or 2nd deck without due regard for the safety and well-being of the

drivers and those working or walking nearby, including those required to off-load the RTV and

Plaintiff. Defendant, MARUBENI TRANSPORT SERVICE CORP., should have coordinated

the load and/or delivery better by loading the other cartons, parts and other Kubota components –

components that were driven off – on the 2nd or top load deck and the rubber-tired equipment on the

floor within the trailer.



                                                 9
Case 1:17-cv-00126-RC Document 13 Filed 04/24/17 Page 10 of 21 PageID #: 110


       3.18    The Kubota Defendants loaded the RTV and did so negligently as referenced

hereinabove. Said Defendants made a choice regarding how the producted designed, assembled,

manufacturered, marketed, loaded and shipped would shipped, including whether it would be

shipped in a “double-stack” configuration and was negligent in doing so which was a proximate

cause of Plaintiffs’ injuries and/or damages.

       3.19    Further, the Kubota Defendants and Defendant, MARUBENI TRANSPORT

SERVICE CORP., in providing logistics, coordinating the shipment, planning the shipment,

planning the loading/unloading and make the load made a voluntary undertaking and in doing so

assumed the duty to exercise reasonable care in providing logistics, coordinating the shipment,

planning the shipment, planning the loading/uloading and actually load the RTV, but failed to

exercise reasonable care which caused injuries and damages to Plaintiff. In accepting the job as

provision of logistics and coordination, Defendant,      MARUBENI TRANSPORT SERVICE

CORP., had the responsiblithy of ensuring that the right transportation company, truck, trailer and

driver were provided for the load it agreed to provide the services to or for. Further, said Defendant

had the obligation to ensure that the proper and safe equipment was provided and present to perform

the shipment; however, the same was not provided for this shipment as the truck/trailer lacked the

necessary equipment to safely operate the ramps to the 2nd or top transport deck within the

trailer/van so that the Kubota RTV could be off-loaded safely. The decisions made during logistics,

planning, coordinating and actual loading dicated the manner in which the unloading would occur.

In this regard, Defendants failed to adequately protect those who Defendants knew would be

nearby, including your plaintiff.

       3.20    Defendants, MINSTAR TRANSPORT, INC. and RICHARD MCGOWLAN

did not load the Kubota RTV’s into the Minstar trailer/van.

       3.21    One or more of the Defendants KUBOTA TRACTOR CORPORATION,

KUBOTA         MANUFACTURING              OF     AMERICA          CORPORATION,            KUBOTA
                                                 10
Case 1:17-cv-00126-RC Document 13 Filed 04/24/17 Page 11 of 21 PageID #: 111


MANUFACTURING CORP., KUBOTA NORTH AMERICA CORPORATION and/or

KUBOTA CORPORATION loaded the subject RTV onto the 2nd or top deck of the Minstar

van/trailer.

        3.22    No Defendant provided Defendant, RICHARD MCGOWLAN, any instruction

and/or warnings regarding off-loading the Kubota RTV, the existence of the entrapment hazard

in the design of the Kubota RTV’s fuel accelerator pedal and/or operator’s compartment and/or

how to slow and/or stop the Kubota RTV if the foot became “stuck” or entrapped, as alleged by

Defendant, RICHARD MCGOWLAN.

        3.24    Prior to the incident made the basis of this litigation, Defendant, RICHARD

MCGOWLAN, did not know that his foot could become “stuck,” entrapped and/or caught by

the accelerator pedal and/or operator’s compartment of the Kubota RTV.

        3.25    Prior to the incident made the basis of this litigation, no Defendant herein

instructed or warned Defendant, RICHARD MCGOWLAN, what to do to stop unintended

acceleration if his foot were to become “stuck” in or ensnared by the accelerator pedal and/or

within the operator’s compartment of the Kubota RTV.

        3.26    One or more of the Defendants, KUBOTA TRACTOR CORPORATION,

KUBOTA         MANUFACTURING               OF      AMERICA          CORPORATION,             KUBOTA

MANUFACTURING CORP., KUBOTA NORTH AMERICA CORPORATION and/or

KUBOTA CORPORATION, have exercised their retained right of control over the coordination,

loading, shipment, transport and/or unloading of Kubota RTV’s in that they now prohibit RTV’s

from being unloaded from the shipping trailer by allowing the driver to drive it off the trailer.

        3.27    One or more of the Defendants, KUBOTA TRACTOR CORPORATION,

KUBOTA         MANUFACTURING               OF      AMERICA          CORPORATION,             KUBOTA

MANUFACTURING CORP., KUBOTA NORTH AMERICA CORPORATION and/or

KUBOTA CORPORATION have changed their shipping and/or transportation policies by now
                                                  11
Case 1:17-cv-00126-RC Document 13 Filed 04/24/17 Page 12 of 21 PageID #: 112


placing each new RTV in a crate so that it can be safely off-loaded from the trailer by a fork-lift.

Said Kubota Defendants were negligent in failing to create the subject RTV, instead expecting

the driver to off-load the RTV.

4.00   CLAIMS FOR RELIEF

       4.01    All factual allegations set forth hereinabove and below are adopted into this count

as though set forth herein word for word. Plaintiffs rely upon the doctrine of Respondeat

Superior as to any and all agents, servants, employees and/or representatives acting in the course

and scope of the same.

       4.02    DESIGN DEFECT AS TO KUBOTA RTV

               4.021 Plaintiffs incorporate by reference to this Count their factual allegations

contained within Pargraph 3.00 et seq. and liability allegations contained in Paragraph 4.00 et

seq. as to these Defendants.

               4.022 Your Plaintiffs would show that the Kubota RTV was dangerous

anddefectively designed in that the it did not incorporate a safer alternative design, as those terms

are understood in law that would have prevented and/or significantly reduced the risk of

Plaintiffs’ injuries and/or damages. Defendants, KUBOTA TRACTOR CORPORATION,

KUBOTA        MANUFACTURING               OF     AMERICA         CORPORATION,            KUBOTA

MANUFACTURING CORP., KUBOTA NORTH AMERICA CORPORATION and/or

KUBOTA CORPORATION distributed a defectively designed Kubota RTV which was a

producing and/or proximate result of Plaintiffs’ injuries and damages. The operator of the

Kubota RTV Defendant, CHARLES MCGOWLAN, attempted to off-load the Kubota RTV

when his foot became “stuck,” entstared and/or trapped which he claims caused the Kubota RTV

to accelerate in a way that he didn’t intend causing him to run into and over Plaintiff and then

fall to the ground causing serious inuries and damages. The design of the operator’s cab,

including the fuel accelerator pedal was unreasonably dangerous and defective inasmuch as it
                                                 12
Case 1:17-cv-00126-RC Document 13 Filed 04/24/17 Page 13 of 21 PageID #: 113


allowed during foreeable operations the Kubota RTV to accidently or unintentionally accelerate

causing the operator to lose control of the Kubota RTV causing personal injury and property

damage occurred on September 19, 2016 when unintended or accidental acceleration caused

Defendant, CHARLES MCGOWLAN, to lose control over the RTV strking and injuring

Plaintiff as referenced hereinabove. The Kubota Defendants should have incorporated into the

design of the fuel accelerator pedal and operator cab components which would not have allowed

the accelerator to become entangled with any portion of the operator’s body, including the

operator’s foot, which could cause unintended acceleration or otherwise for the operator to lose

control over the operation of the Kubota RTV.

               4.023 Such safer alternative designs were economically and technologically

feasible at the time the Kubota RTV left the control of the Kubota Defendants by the application

of reasonable achievable scientific knowledge, which included providing a accelerator pedal

which did not get stuck with or on any portion of the operator’s person or body and/or providing

the design of an operator’s compartment which did not create pinch points between the

accelerator pedal and the remaining portion of the operator’s cab or compartment sufficient for

the operator’s foot to become “stuck,” entangled, ensnared or trapped as alleged by Defendant,

CHARLES MCGOWAN, in his Notice of Removal.

               4.024 Such defective design rendered the products unreasonably dangerous and

defective for its intended and reasonably foreseeable uses, as those terms are understood in law,

and was the producing cause of your Plaintiff's injuries and damages, for which damages

Defendants are liable, jointly and severally, to your Plaintiff under the Doctrine of Strict Liability

in Tort, Restatement of Torts, Second, Sections 402A.

       4.03    MARKETING DEFECT AS TO KUBOTA RTV

               4.031 laintiffs incorporate by reference to this Count their factual allegations

contained within Pargraph 3.00 et seq. and liability allegations contained in Paragraph 4.00 et
                                                 13
Case 1:17-cv-00126-RC Document 13 Filed 04/24/17 Page 14 of 21 PageID #: 114


seq. as to the the Kubota Defendants.

               4.032 Your Plaintiff would further invoke the Doctrine of Strict Liability in Tort,

Restatement of Torts, Second, Section 402A and 402B, as the term is understood in law, by

showing that Defendants defectively marketed the Kubota RTV by failing to warn or adequately

warn or instruct as to the safe use and operation of the product, including that the operator’s foot

or footwear could become “stuck,” entangled, entrapped and/or hung up in the fuel accelerator

pedal and/or the adjacent operator’s cab and/or that unintended or accidental acceleration could

occur therefrom and by failing to instruct or adequately instruct how to avoid the occurrence of

same.    Further, said Defendants failed to warn and/or instruct the safe manner in which to off-

load the product from an elevated position or with the use of a loading/unloading ramp. Said

mismarketing was a producing and/or proximate result of Plaintiffs’ injuries and damages.

               4.032 Such defective marketing rendered the product unreasonably dangerous

and defective for their intended and reasonably foreseeable purposes, as those terms are

understood in law, and was the producing cause of your Plaintiff's injuries and damages, for

which damages Defendant is liable, jointly and severally, to the Plaintiff under the Doctrine of

Strict Liability in Tort, Restatement of Torts, Second, Sections 402A.

        4.04   VOLUNTARY UNDERTAKING - §323 RESTATEMENT (SECOND)
               OF TORTS

               4.041 Plaintiffs incorporate by reference to this Count their factual allegations

contained within Pargraph 3.00 et seq. and liability allegations contained in Paragraph 4.00 et

seq. as to the these Defendants.

               4.042 In providing logistics, coordinating the shipment, planning the shipment,

planning the loading/unloading Defendants, KUBOTA TRACTOR CORPORATION,

KUBOTA         MANUFACTURING             OF     AMERICA          CORPORATION,           KUBOTA

MANUFACTURING CORP., KUBOTA NORTH AMERICA CORPORATION and


                                                14
Case 1:17-cv-00126-RC Document 13 Filed 04/24/17 Page 15 of 21 PageID #: 115


KUBOTA CORPORATION and Defendant, MARUBENI TRANSPORT SERVICE CORP.,

made a voluntary undertaking and in doing so assumed the duty to exercise reasonable care in

providing logistics, coordinating the shipment, planning the shipment, planning the

loading/unloading and actually load the RTV, but failed to exercise reasonable care which caused

injuries and damages to Plaintiff. Said Defendants voluntarily undertook to perform services that it

knew or should know were necessary for the protection of the Plaintiff and others similarly situated,

failed to exercise reasonable care in performing those services and Plaintiff relied upon the

Defendants’ performance and/or Defendants’ performance increased the plaintiff’s risk of harm.

With the undertaking made by said Defendants, including the loader of the Kubota RTV, the

shipper of the RTV, the payor for shipment of the RTV, the selector of the transportation method

including that the Kubota RTV would be double-deck stacked owed the duty of reasonable care in

performing those services, including the duty to ensure that their actions in loading the Kubota RTV

on the elevated transport deck of the van did not increase the risk of harm to others whoe would be

unloading the RTV or in the area where the RTV could be unloaded. As shown by the photograph

in Pargraph 3.14 supra., stacking the Kubota RTV on top of one another within the van prohibited

the operator from safely situating himself within the operator’s cab in any attempted operation of

the RTV. The decisions made during logistics, planning, coordinating and actual loading dicated

the manner in which the unloading would occur. In this regard, Defendants failed to adequately

protect those who Defendants knew or should have known would be nearby, including your

plaintiff, which should have included a warning and/or instruction to manually move or push the

RTV from the 2nd or top deck, instead of trying trying to operate or drive the unit from the 2nd or top

deck.

        4.05   NEGLIGENCE AND/OR GROSS NEGLIGENCE – ALL DEFENDANTS

               4.051 Plaintiffs incorporate by reference to this Count their factual allegations

contained within Pargraph 3.00 et seq. and liability allegations contained in Paragraph 4.00 et
                                                  15
Case 1:17-cv-00126-RC Document 13 Filed 04/24/17 Page 16 of 21 PageID #: 116


seq. as to the these Defendants. Defendants were negligent as alleged hereinabove.

               4.052 In particular, it is believed that on the occasion in question, the

Defendants, KUBOTA TRACTOR CORPORATION, KUBOTA MANUFACTURING OF

AMERICA        CORPORATION,          KUBOTA          MANUFACTURING           CORP.,       KUBOTA

NORTH AMERICA CORPORATION and KUBOTA CORPORATION, failed to exercise

the degree of care that a reasonable and prudent business entity and/or person would have in at

least the following particulars:

               4.0521 In creating or designing an operator’s compartment or station which
                      “stuck,” ensnared, trapped and/or hung up the operator’s foot causing
                      unintended acceleration of the Kubota RTV;

               4.0522 In failing to provide an emergency “kill” or stop switch if the operator’s
                      foot became “stuck” or entrapped or hung up in the accelerator pedal;

               4.0523 In failing to warn that foot entrapment could occur in the Kubota RTV;

               4.0524 In failing to instruct the operator how to avoid foot entrapment;

               4.0525 In failing to test or adequately test its Kubota RTV for foot entrapment
                      that could cause unintended acceleration;

               4.0526 In failing to provide a fail-safe to unintended acceleration;

               4.0526 In loading the Kubota RTV on the 2nd or top level of the van/trailer;

               4.0526 In choosing to “double-stack” its products for loading, shipment and/or
                      unloading;

               4.0527 In failing to ensure that all necessary parts and/or equipment necessary for
                      the safe operation of the “Double Deck Transport System” were present
                      and would be used to unload its products;

               4.0528 In failing to investigate and/or test the Double Deck Transport System;
                      alternatively, in failing to adequately do so.

               4.0529 In introducing a dangerous and defective product into the stream of
                      commerce by design defect, marketing defect and/or both;

               4.0530 In failing to load the “first off” RTV’s on the lower level;

               4.0531 In failing to crate the RTV so that it could off-loaded by a fork-lift, a
                      change Defendants have now made to their shipping and/or transportation
                                                16
Case 1:17-cv-00126-RC Document 13 Filed 04/24/17 Page 17 of 21 PageID #: 117


                      policies; and

               4.0531 In such other and further acts and/or omissions constituting negligence as
                      referenced herein or will be proven at the trial of this cause.


        4.053 In particular, it is believed that on the occasion in question, the Defendants,

MINSTAR TRANSPORT, INC. and its employee and agent, RICHARD MCGOWLAN,

acting in the course and scope of employment, failed to exercise the degree of care that a

reasonable and prudent business entity and/or person would have in at least the following

particulars:

               4.0531 In failing to keep a proper lookout for plaintiff;

               4.0532 In failing to maintain control over the RTV;

               4.0533 In entrapping his foot causing sudden acceleration;

               4.0534 In failing to provide and/or bring all equipment for the safe operation
                      and/or use of the transport system to the job;

               4.0535 In negligently unloading the RTV;

               4.0536 In shipping the RTV in a dangerous manner;

               4.0537 In running Plaintiff over in the RTV;

               4.0538 In marketing that its Double Deck Transport System was safe for shipping,
                      hauling and/or unloading mobile equipment and for one-half of the cost;

               4.0539 In failing to require that the RTV’s be crated for shipping and
                      transportation, which has been done since the occurrence; and

               4.0539 Such other and further acts and omissions constituting negligence and
                      gross negligence, as those terms are understood in law, as may be shown
                      at the trial of this case.

        4.054 In particular, it is believed that on the occasion in question, the Defendant,

MARUBENI TRANSPORT SERVICE CORP., failed to exercise the degree of care that a

reasonable and prudent business entity and/or person would have in at least the following

particulars:


                                                17
Case 1:17-cv-00126-RC Document 13 Filed 04/24/17 Page 18 of 21 PageID #: 118


               4.0541 In In marketing that its Double Deck Transport System was safe for
                      shipping, hauling and/or unloading mobile equipment and for one-half of
                      the cost;

               4.0542 In failing to require that before unloading RTV’s transported on the 2nd or
                      top deck, that the RTV’s on the bottom level are first removed so that the
                      2nd or top deck can be lowered before unloading those RTV’s which had
                      been loaded on the 2nd or top deck;

               4.0543 In failing to ship the “first off” RTV’s on the lower level;

               4.0544 In failng to adequately test and/or inspect the load of double-staked RTV’s
                      during its coordination and logistics services provided;

               4.0545 In failing to ensure that all necessary ramps, blocks and equipment
                      necessary for the safe operation and/or unloading of the 2nd or top deck of
                      the Double Deck Transport System, when it was not;

               4.0546 In providing unsafe coordination and logistics in transporation of the
                      products sold by the

               4.0547 Such other and further acts and omissions constituting negligence and
                      gross negligence, as those terms are understood in law, as may be shown
                      at the trial of this case.

       4.055 Additionally, your Plaintiffs would show that the action and/or inactions of the

Defendant as alleged hereinabove will have such a character as to indicate that it was the result

of the conscience indifference to the rights, welfare and safety of your Plaintiff and others

similarly situated. Therefore, Defendants are guilty of gross negligence and/or malice for which

it should be held liable in punitive and exemplary damages to your Plaintiffs in an amount as

found sufficient by the trier of fact and allowed by law.

5.00   DAMAGES

       5.01    As a producing and proximate result of the Defendants tortious acts, the Plaintiff,

HORACE SAVOY sustained severe and disabling injuries to his body generally, including

causing head injury, causing his head/eye/face to be cut requiring over forty (40) suture,

damaging his spine and intervertebral discs, breaking both arms, hands and/or wrists, breaking

his ankle, injuring his shoulder, spine and body generally. Due to the nature and severity of their


                                                18
Case 1:17-cv-00126-RC Document 13 Filed 04/24/17 Page 19 of 21 PageID #: 119


injuries, Plaintiff has been required to seek medical treatment. Plaintiff has been required to pay

and incur liability to pay the charges which have been made for such medical services. In the

future, it is reasonably probable that Plaintiff will probably require additional medical care,

treatment and procedures and will be required to pay and incur liability to pay the charges which

will be made for such services. The charges which have been made and which will be made for

such services rendered to the Plaintiff has represented and will represent the usual, reasonable and

customary charges for like and similar services in the vicinity where they have been and will be

rendered. All of such services, both past and future, have been and will be necessary in connection

with the proper treatment of the injuries suffered by the Plaintiff as a result of the occurrence made

the basis of this suit.

        5.02     All of the above damages suffered by the Plaintiffs were the proximate or

producing results of the acts and/or omissions of the Defendant complained of in this Petition

and are in excess of the jurisdictional limits of this Court.

        5.03     Your Plaintiffs have sustained compensatory damages as a producing and/or

proximate cause in at least the following particulars, which are expected and in all reasonable

probability will continue into the future:

                 5.031 Reasonable and necessary costs of medical care and treatment including
                       doctors, hospitals, nurses, medicine, and other services and supplies in the
                       past and future;

                 5.032 Loss of earnings in the past;

                 5.033 Loss of earning capacity;

                 5.034 Physical pain and suffering;

                 5.035 Mental anguish, not only with regard to the immediate incident as it
                       unfolded, but also with regard to the devastating impact the incident and
                       injures have had on his life, and that they will probably have on the
                       remainder of his life, including the anxiety of diminished life enjoyment
                       and freedom of movement, and the fear and anxiety associated with the
                       various therapies, medical procedures, and treatment that will probably be
                       necessary to properly treat the Plaintiffs; and
                                                  19
Case 1:17-cv-00126-RC Document 13 Filed 04/24/17 Page 20 of 21 PageID #: 120



                5.036 Physical impairment;

                5.037 Physical disfigurement;

                4.038 Loss of love, society, affection and consortium; and

                4.039 Loss of Household Services.

       5.04     Defendants’ conduct gives rise to exemplary damages in an amount allowable by

the applicable laws and statutes.

       5.05     If your Plaintiff was suffering from any pre-existing disease or condition which

could be said to have contributed to the injuries and damages herein alleged, they were not

disabling until aggravated, excited and otherwise caused a flare-up as a natural consequence of

the incident made the basis of this litigation.

6.00   RIGHT TO AMEND

       6.01     Plaintiff hereby expressly reserve the right to amend their pleadings to conform to

the evidence.

7.00   PRAYER

       7.01     WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that the Defendant

be cited to appear and answer herein and that on a final trial hereof, Plaintiff have judgment

against the Defendant for an amount in excess of the minimum jurisdictional limits of this Court

as compensation for your Plaintiff’s damages, to be determined by the trier of fact, including:

       7.011 Actual damages as pleaded;

       7.012 Pre-judgment and post-judgment interest in the highest amounts allowed by
             law;

       7.013 Exemplary damages;

       7.014 Costs of Court;

       7.015 Such other and further relief, at law or in equity, to which Plaintiff is justly
             entitled.


                                                  20
Case 1:17-cv-00126-RC Document 13 Filed 04/24/17 Page 21 of 21 PageID #: 121


8.00    REQUEST FOR JURY TRIAL

        8.01    It is requested, pursuant to Federal Rules of Civil Procedure, that this matter be

tried before a jury. An appropriate jury fee has been submitted.

9.00    REQUEST FOR DISCLOSURE AND USE OF DOCUMENTS

        9.01    Further, Plaintiff hereby places Defendant on notice that any documents marked as

exhibits to depositions and/or produced by Defendant herein will be used in pre-trial and/or trial

proceedings.

10.00 DESIGNATION OF LEAD COUNSEL

        10.01 Gilbert T. Adams, III, of Gilbert Adams Law Office, is designated as the attorney

in charge for the Plaintiff in all matters relating to these claims.

                                                Respectfully submitted,

                                                GILBERT ADAMS LAW OFFICE
                                                1855 Calder Avenue at Third
                                                P.O. Drawer 3688
                                                Beaumont, Texas 77704
                                                Phone (409) 835-3000
                                                Fax (409) 832-6162



                                                GILBERT T. ADAMS, III
                                                State Bar No. 00790201
                                                gilbert@gta-law.com

                                                ATTORNEY IN CHARGE FOR PLAINTIFFS


                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing instrument has been
served upon all known counsel of record in accordance with the Federal Rules of Civil Procedure
on this the 24th day of April, 2017.



                                                        _____________________________
                                                        GILBERT T. ADAMS III



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